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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF MINNESOTA


United States of America,                          Court File No. 24-cv-2944 (KMM/JFD)

                  Plaintiff,                           NOTICE OF APPEARANCE

        v.

Evergreen Recovery Inc., Evergreen Mental
Health Services Inc., Ethos Recovery Clinic
Inc., Second Chances Recovery Housing Inc.,
Second Chances Sober Living, Inc., David
Backus, Shawn Grygo, and Shantel Magadanz,

                  Defendants.


        PLEASE TAKE NOTICE that Archana Nath appears as counsel of record for Court-

Appointed Receiver Ranelle Leier in the above-captioned matter.

Dated: August 12, 2024                          FOX ROTHSCHILD LLP



                                                /s/ Archana Nath
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